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     Attorneys for Plaintiff Julie A. Su,
11   Acting United States Secretary of Labor
12
13                  IN THE UNITED STATES DISTRICT COURT
14                FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16                                                  Case No. 2:19-cv-03546-TJH-PLAx
     JULIE A. SU
17   Acting Secretary of Labor,                     SUPPLEMENTAL EXHIBIT 1
18   United States Department of Labor,             TO CONSENT JUDGMENT AS
19                                                  TO DEFENDANT AIWA TANG-
                                     Plaintiff,     TON ONLY (Dkt. 273)
20               v.
                                                    Hon. Terry J. Hatter, Jr.
21   KP POULTRY, INC., et al.,
22                                   Defendants.
23
24
25         Plaintiff hereby files this Supplemental Exhibit 1, listing the amount of back
26   wages and liquidated damages to be paid to those individuals listed on Exhibit 1 to
27   the Consent Judgment and Order as to Defendant Aiwa Tang-Ton, Dkt. 273. The
28   Court’s Judgment and Order requires Plaintiff to file this Supplement within one

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 1   year of the March 10, 2023, entry of the Consent Judgment. Dkt. 273 at p. 4:21-26.
 2
 3   DATED: September 25, 2023
 4                                               Respectfully submitted,

 5                                               SEEMA NANDA
 6                                               Solicitor of Labor
 7                                               MARC A. PILOTIN
 8                                               Regional Solicitor
 9
                                                 KATHERINE E. CAMERON
10                                               Associate Regional Solicitor
11
                                                 SONYA SHAO
12                                               Senior Trial Attorney
13
                                                 /s/ Nisha Parekh
14                                               NISHA PAREKH
15                                               Trial Attorney
16
                                                 KATHRYN PANACCIONE
17                                               Trial Attorney
18
                                                 Attorneys for Plaintiff Julie A. Su,
19                                               Acting Secretary of Labor
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 1
 2
 3                                  SUPPLEMENT - EXHIBIT 1
 4                                      EMPLOYEE LIST
 5
                                       Period       Period       Back        Liquidated
 6    First Name     Last Name          Start        End         Wages        Damages      TOTAL

 7      Jorge       Aguilar Rico      12/31/2016   11/3/2018     $296.42      $296.42      $592.84

 8       Jose       Aguilar Rico      1/16/2016    6/28/2020    $10,651.94   $10,651.94   $21,303.89

 9      Sergio      Aguilar Rico      12/19/2015   12/22/2018   $2,352.10    $2,352.10    $4,704.19

10      Adela         Andrade         3/26/2016    12/22/2018   $2,868.14    $2,868.14    $5,736.28

11       Ivan         Andrade          7/2/2016    5/27/2017     $438.10      $438.10      $876.21

12      Jaime         Andrade         3/26/2016    12/22/2018   $3,131.80    $3,131.80    $6,263.60

13    Emi Israel      Banuelos        11/14/2015   6/16/2018     $292.80      $292.80      $585.59

14      Sergio        Bañuelos        5/19/2018    2/24/2019    $1,197.04    $1,197.04    $2,394.09

15     Erminia        Carrillo         2/4/2017    9/22/2019    $1,239.04    $1,239.04    $2,478.07

16     Alberto       Castenada        8/27/2016    4/19/2020    $3,366.95    $3,366.95    $6,733.89

17      Cesar       Castro Puebla     5/28/2016    10/22/2016    $208.65      $208.65      $417.31

18      Estela      Castro Ramos      3/26/2016    12/22/2018    $315.35      $315.35      $630.71

19      Yobani         Ceron          1/16/2016    6/14/2020    $9,352.94    $9,352.94    $18,705.89

20      Araceli      Cervantes         3/5/2016    4/19/2020    $7,485.91    $7,485.91    $14,971.81

21       Pau           Chang          3/19/2016    3/29/2020    $2,445.93    $2,445.93    $4,891.86

22     Fidencio        Correa          4/1/2017    6/30/2019     $943.63      $943.63     $1,887.25

23      Fabian        Equihua         2/18/2017    7/15/2017     $823.24      $823.24     $1,646.48

24      Marco          Flores         4/28/2018    8/11/2018     $53.61        $53.61      $107.23

25      Jorge         Gaxiola         6/23/2018    4/26/2020     $555.10      $555.10     $1,110.21

26    Jose Daniel     Godines          9/1/2018    12/1/2018     $305.89      $305.89      $611.78

27     Ricardo         Gomez           1/9/2016     4/1/2017     $272.72      $272.72      $545.43

28       Noe          Granados        10/31/2015   3/29/2020    $4,112.95    $4,112.95    $8,225.89


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 1       Juan            Guillen          3/5/2016    10/6/2019    $1,505.57   $1,505.57   $3,011.14

 2    Candelaria        Hernandez        3/12/2016    8/12/2017    $313.58     $313.58      $627.15

 3   Rogelio Perez      Hernandez        4/22/2017    12/29/2017   $334.80     $334.80      $669.60

 4      Jorge        Indalecio Jacobo    1/30/2016    8/12/2017    $1,170.11   $1,170.11   $2,340.21

 5     Reynaldo           Lopez           4/2/2016    3/29/2020    $3,561.19   $3,561.19   $7,122.39

 6      Senen             Lopez           8/4/2019    6/14/2020    $623.69     $623.69     $1,247.37

 7     Reynaldo        Luna Mares        1/16/2016    4/26/2020    $5,761.59   $5,761.59   $11,523.18

 8      Cecilia           Macias         11/3/2018    12/1/2018    $113.44     $113.44      $226.89

 9   Francisco M         Magaña          6/16/2019    4/26/2020    $375.47     $375.47      $750.94

10     Gustavo           Magaña          1/16/2016    6/28/2020    $8,271.93   $8,271.93   $16,543.86

11      Pedro            Magaña          1/30/2016    10/14/2017   $846.97     $846.97     $1,693.95

12     Angelina         Maroquin          2/6/2016    4/26/2020    $4,532.43   $4,532.43   $9,064.86

13     Antonio           Martinez        1/16/2016    6/28/2020    $6,319.19   $6,319.19   $12,638.38

14     Brandon           Martinez        6/16/2018    8/11/2018     $35.81      $35.81      $71.62

15       Janet           Martinez        3/19/2016    6/21/2020    $309.98     $309.98      $619.96

16      Jorge            Martinez        1/16/2016    10/7/2017    $739.86     $739.86     $1,479.73

17      Maria            Martinez        1/16/2016    12/15/2018   $2,756.84   $2,756.84   $5,513.68

18      Rafael           Martinez         3/5/2016    6/28/2020    $4,014.44   $4,014.44   $8,028.87

19     Refugio           Martinez        1/16/2016     2/2/2020    $2,784.21   $2,784.21   $5,568.41

20     Daniela       Martinez Saldivar   3/19/2016    6/21/2020    $124.28     $124.28      $248.57

21      Daniel           Mendez          10/31/2015   6/28/2020    $2,589.96   $2,589.96   $5,179.92

22      Oscar            Mendez          3/26/2016    6/14/2020    $2,460.46   $2,460.46   $4,920.92

23      Maria            Mendoza         3/19/2016     7/1/2017    $237.95     $237.95      $475.89

24    Ana Luisa           Mesa           3/18/2017    4/26/2020    $4,338.18   $4,338.18   $8,676.36

25    Hermelinda         Munguia         12/19/2015    4/5/2020    $3,180.53   $3,180.53   $6,361.06

26      Carina            Ochoa          1/23/2016    6/21/2020    $761.31     $761.31     $1,522.61

27     Gerardo           Palomar         10/31/2015   10/21/2017   $1,811.24   $1,811.24   $3,622.48

28       Juan            Palomar         10/31/2015   12/24/2016   $1,362.38   $1,362.38   $2,724.75


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 1     Rodolfo          Palomar         10/31/2015   10/7/2017     $709.23       $709.23       $1,418.47

 2   Jose Alberto   Palomar Munoz       10/31/2015   8/27/2016     $524.59       $524.59       $1,049.18

 3      Juana            Perez          3/12/2016    6/28/2020     $9,126.94     $9,126.94    $18,253.87

 4      Laura            Perez          3/12/2016    6/28/2020      $20.01        $20.01        $40.02

 5      Rafael           Perez          1/30/2016    8/26/2017     $2,613.70     $2,613.70     $5,227.40

 6      Laura            Pinzon         1/16/2016    6/28/2020     $7,812.83     $7,812.83    $15,625.66

 7      Brenda           Ramos          10/6/2019    4/12/2020      $58.72        $58.72       $117.44

 8       Julio           Ramos          1/30/2016    12/22/2018    $2,074.60     $2,074.60     $4,149.21

 9      Laura            Rojas          1/16/2016    10/27/2019    $1,730.39     $1,730.39     $3,460.79

10    Emmanuel            Rojo          1/16/2016    6/21/2020     $2,149.96     $2,149.96     $4,299.93

11     Yovanna            Rojo          3/19/2016    1/14/2017     $285.05       $285.05       $570.10

12     Jose Luis         Rueda           5/7/2016    6/30/2019     $2,406.87     $2,406.87     $4,813.73

13      Hilario           Ruiz          2/27/2016    4/19/2020     $6,299.32     $6,299.32    $12,598.65

14     Ramiro       Sanchez Cabral      3/19/2016    6/20/2020     $375.00       $375.00       $750.00

15      Alexis           Tapia          1/16/2016     6/2/2018     $999.61       $999.61       $1,999.22

16      Hector           Tinoco         10/31/2015    4/5/2020     $3,820.19     $3,820.19     $7,640.38

17      Byron       Veliz Castellanos   5/14/2016    6/23/2018     $445.68       $445.68       $891.37

18       Jesus         Villarreal       1/16/2016    3/26/2016     $358.83       $358.83       $717.65

19                                                   TOTALS       $155,759.15   $155,759.15   $311,518.30

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